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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:

JEANNA SUE REEDY,                                        Case No.: 8:18-bk-09240-RCT
                                                         Chapter: 7
         Debtor.
                                                    /

                         RESPONSE TO MOTION TO SELL
                      REAL PROPERTY AND PAY SECURED
               CREDITOR(S) AND TRANSACTIONAL COSTS (DOC. NO. 38)

         Quicken Loans Inc. (the “Secured Creditor”), by and through undersigned counsel,

responds to the Motion to Sell Real Property and Pay Secured Creditor(s) and Transactional

Costs (the “Motion”) (Doc. No. 38) and in support thereof, Secured Creditor states as follows:

         1.     This case was commenced by the filing of a voluntary Chapter 7 petition on

October 26, 2018.

         2.     Secured Creditor holds a mortgage lien against the Debtor's property located at

4079 Navajo Avenue, Dayton, Ohio 45424 (the “Property”).

         3.     On December 17, 2019, the Debtor filed the Motion seeking authority to short-

sale the Property for base price of $57,900.00 plus an additional buyer’s premium of $2,500.00.

         4.     Section 363(f) provides that property of the Estate can be sold free and clear of

liens if . . . “(2) such entity consents; (3) such interest is a lien and the price at which such

property is to be sold is greater than the aggregate value of all liens on such property . . . “

         5.     Secured Creditor conditions its consent for purposes of §363(f)(2) upon inclusion

of language in the Order that states that the approval of the short sale is contingent on Secured

Creditor’s written approval and the terms of said written approval attached hereto as “Exhibit A”

including the deadline for closing must take place on or before January 10, 2020.
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          6.        Secured Creditor reserves the right to supplement and/or amend this Objection.

         WHEREFORE, the Secured Creditor requests that the Court enter an order approving

Motion to Sell Real Property and Pay Secured Creditor(s) and Transactional Costs with the

additional language requested by Secured Creditor, and for such other and further relief as the

Court deems just and proper.



                                                      McCalla Raymer Leibert Pierce, LLC

                                   By:                /s/Melbalynn Fisher
                                                      Melbalynn Fisher
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                                                ________________________
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Ft. Lauderdale, FL 33301
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on January 6,

2020 to all parties on the list to receive e-mail notice/service for this case, via the Notice of Electronic

Filing (which is incorporated herein by reference), and via U.S. Mail, First Class to Jeanna Sue Reedy,

1071 Donegan Road, Lot 1151, Largo, FL 33771.


                                                    By:                 /s/Melbalynn Fisher
                                                                       _____________________________
                                                                          Melbalynn Fisher



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